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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,       )               CR . NO. 04-00400-05 HG
                                )
               Plaintiff,       )               REPORT AND RECOMMENDATION
     vs.                        )               CONCERNING PLEA OF GUILTY
                                )
ROBERT EISLER,        (05)      )
                                )
               Defendant.       )
_______________________________ )



                           REPORT AND RECOMMENDATION
                            CONCERNING PLEA OF GUILTY

                The defendant, by consent, has appeared before me pursuant to Rule 11,

Fed.R.Crim.P., and has entered a plea of guilty to Count 1 of the Indictment. After

examining the defendant under oath, I determined that the defendant is fully competent

and capable of entering an informed plea, that the guilty plea was intelligently,

knowingly and voluntarily made, and that the offense(s) charged is supported by an

independent basis in fact establishing each of the essential elements of such offense(s). I

further determined that the defendant intelligently, knowingly and voluntarily waived the


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right to appeal or collaterally attack the sentence except as provided in the plea

agreement. I therefore recommend that the plea of guilty be accepted and that the

defendant be adjudged guilty and have sentence imposed accordingly.

                IT IS SO RECOMMENDED.

                DATED: Honolulu, Hawaii, February 13, 2006.




                                           _____________________________
                                           Kevin S.C. Chang
                                           United States Magistrate Judge




                                              NOTICE

         Failure to file written objections to this Report and Recommendation within ten (10) days

from the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).




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